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                                                     Appendix II

                                         The Avoidance Action Procedures

              1.          The Court adopts and implements the following procedures to govern the

Avoidance Actions (the “Avoidance Action Procedures”):

         I.             Notice of Applicability

                     i.      The Avoidance Action Procedures shall apply to the Avoidance Actions listed
                             in Appendix I.

     II.                Stay of Litigation

                   i.       All pending actions, excluding Adversary Proceeding No. 19-00202, shall be
                            stayed for at least a period of one hundred and twenty (120) days from the entry
                            of an order establishing these Avoidance Action Procedures (the “Stay Period”),
                            at which time, any party may file an appropriate motion seeking to re-
                            commencelift the stay in any of the stayed Avoidance Actions (the “Stay
                            Period”). The Stay Period shall be deemed to have expired as to each respective
                            Avoidance Action only upon the entry of an order by the Court lifting the stay
                            in the particular each respective Avoidance Action (in each case, an “Order
                            Lifting Stay”).

                   ii.       Adversary Proceeding No. 19-00202 shall be stayed for at least a period of sixty
                             (60) days from the entry of an order establishing these Avoidance Action
                             Procedures (the “ISSC Stay Period”). No sooner than sixty (60) days after the
                             start of the ISSC Stay Period, parties to that Avoidance Action may file an
                             appropriate motion seeking to lift the stay in that Avoidance Action. The ISSC
                             Stay Period shall be deemed to have expired upon the entry of an Order Lifting
                             Stay in that proceeding.

                   iii.      Upon the entry of an Order Lifting Stay in an Avoidance Action, the Court shall
                             deliver to the parties to that Avoidance Action a notice of the party’s right to
                             consent to the exercise of a magistrate judge’s jurisdiction to conduct any or all
                             proceedings and order the entry of judgment. The notice shall include a consent
                             form for execution by all parties, to be filed in the applicable Avoidance Action
                             only if the parties agree to a magistrate judge’s jurisdiction.

  III.                  Status Reports to the Court

                   i.       At the conclusion of the first one hundred and twenty (120) days of the Stay
                            Period, and every thirty (30) days thereafter, the Trustee shall file (only in Case
                            No. 17-03283) a status report providing a brief update on the status of each
                            Avoidance Action, including (as to each such action that remains pending at such
                            time) whether the parties are engaging in informal settlement discussions, the

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                  schedule established for mediation, and whether the Trustee expects the
                  Avoidance Action to be litigated.

 III.IV.        Informal Settlements and Procedures for Court Approval

           i.     During the Stay Period, the Trustee shall endeavor to initiate and invite each
                  defendant or tolled party to engage in informal settlement discussions consisting
                  of each party presenting its position and exchanging documents in support of
                  such positions with the opportunity for negotiation.

           ii.     The informal settlements discussions shall be confidential and subject to Rule
                   408 of the Federal Rules of Evidence.

           iii.    Authority

                      a) Consistent with Section 79.1 of the Plan, the Trustee may enter into
                         written settlement agreements (the “Settlement Agreements” and each
                         a “Settlement Agreement”) with the defendants or tolled party, which
                         agreements shall be enforceable and effective as provided below.

                      b) For purposes of Section 79.1 of the Plan, the Trustee will have approval
                         of the Court with respect to any Settlement Agreement if it acts
                         consistently with the following settlement procedures.

           iv.     Settlement Procedures

                      a) Any Settlement Agreements executed by the Trustee pursuant to the
                         authority granted in the Order must contain the following provisions
                         (the “Settlement Standards”):

                               1. The defendant shall submit to the United States District Court
                                  for the District Court of Puerto Rico’s jurisdiction with respect
                                  to the enforcement of the Settlement Agreement.

                               2. The Settlement Agreement shall be interpreted in accordance
                                  with Puerto Rico law.

                               3. The Trustee shall file a notice of dismissal of the Avoidance
                                  Action after the settlement has been consummated.

                               4. The Trustee will have the authority to settle without further order
                                  of the Court any Avoidance Action where the net amount in
                                  controversy, after the application of defenses, does not exceed
                                  twenty million dollars ($20,000,000)$20 million (the “Net
                                  Claim”).




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                     b) Where the Net Claim does not exceed twenty million dollars
                        ($20,000,000), any Settlement Agreement shall be enforceable without
                        further notice, hearing, or Court approval.

                     c) Where the Net Claim exceeds twenty million dollars ($20,000,000), the
                        Trustee will must file with the Court in the Commonwealth case (Case
                        No. 17-03283) a notice of settlement (the “Notice of Settlement”) that
                        will discloses the following:

                             1. The Adversary Proceeding number;

                             2. The parties to the Settlement Agreement;

                             1.3.The dollar amount of the settlement; and

                             4. The Net Claim amount and the amount recovered in the
                                applicable Avoidance Action without identifying the Avoidance
                                Action adversary proceeding number or tolled party.; and

                             2.5.The deadline for any objection to the Notice of Settlement.

                     d) If no objection to the Notice of Settlement is filed and served upon the
                        Trustee within fourteen (14) days after the filing, the Settlement
                        Agreement will automatically become effective and binding on the
                        parties.

                     e) If an objection is filed pursuant to paragraph (c) above, the Trustee shall
                        file a response to the objection within fourteen (14) of filing the
                        objection.

                     f) Thereafter, the Court shall in its discretion determine if a hearing or
                        further submissions on the objection is necessary

IV.V.   Mediation

             i.   During the Sstay Pperiod, the Trustee shall communicate with each defendant
                  for the purpose of establishing dates for a pre-trial mediation session with each
                  defendant, which shall be scheduled on a mutually convenient date among
                  counsel and the parties. Unless otherwise allowed by the Court, by no later than
                  sixty (60) days after the end of the Stay Period, a date for the initial mediation
                  session shall be set for each Avoidance Action.

           ii.    Parties may file a motion with the Court in their applicable Avoidance Action
                  seeking to be exempt from mediation.

        ii.iii.   In order to facilitate the mediations, the Trustee shall establish a roster of
                  mediators presumptively satisfactory to it from which the parties may select.


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        iii.iv.   Nothing would prohibit the parties from mutually agreeing to a mediator that is
                  not listed on the roster.

         iv.v.    Within seven (7) days after the parties select a mediator,Prior to the expiration
                  of the Stay Period, the parties shall file in the applicable Avoidance Action a
                  Notice of Mediation. The Notice of Mediation shall include (a) the name of the
                  mediator; (b) the anticipated date of the mediation session, if known;
                  identifying the date of mediation and mediator selection. (c) confirmation that
                  the mediator’s participation in the mediation will not create a conflict of interest
                  for the mediator or any party to the mediation; and, (d) confirmation that the
                  mediator is available and qualified to undertake the subject matter of the
                  mediation.

         v.vi.    Unless otherwise agreed to by the parties or ordered by the Court, mMediator
                  compensation shall be apportioned equally between the parties to the mediation
                  in accordance with the requirements of the selected mediator.

       vi.vii.    The parties shall undertake the mediation session in good faith. Unless
                  otherwise ordered by the mediator, wWithin seven (7) days before the first
                  mediation session, the parties, shall submit to the mediator a confidential
                  “Position Statement” not to exceed ten (10) pages double-spaced (not including
                  exhibits) outlining the key facts and legal issues in the case. The statement will
                  also include each party’s position regarding settlement. Nothing in these
                  procedures precludes any party from making any other confidential
                  submissions to the mediator.

      vii.viii.   The mediation, and communications relative to the substance of the mediation,
                  shall be privileged pursuant to Rule 408 of the Federal Rules of Evidence. No
                  party shall discuss, in written or oral submissions, and the Court will neither
                  invite nor entertain, information regarding events or actions in the mediation
                  process. Nothing stated or exchanged during mediation shall operate as an
                  admission of liability, wrongdoing, or responsibility. Participation in the
                  mediation session will not prejudice or waive any litigation positions of the
                  parties.

       viii.ix.   Within ten (10) days of the mediation session, the parties shall file a joint status
                  report in the applicable Avoidance Action advising the Court of the following:
                  (A) whether the parties have resolved the Avoidance Action; or, if not, (B)
                  whether the parties intend to engage in additional mediation sessions and the
                  anticipated schedule for additional sessions; or (BC) if not, whether further
                  mediation sessions will not be useful. If the parties determine that further
                  mediation sessions will not be useful, the parties’ joint status report shall inform
                  the Court whether the parties intend to seek an Order Lifting Stay and proceed
                  with litigation.




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 V.VI.    Litigation Procedures and Deadlines

              i.   Within forty-five (45) days after the entry of an Order Lifting Stay, the
                   respective defendant(s) shall file and serve an answer or response to the
                   complaint in the respective Avoidance Actions (the “Response Due Date”).

             ii.   If necessary, to allow for any out-of-court resolution of the Avoidance Actions,
                   the Response Due Date may be extended by further motion of any party and
                   upon approval by this Court.

            iii.   If a defendant files a motion under Federal Rule of Civil Procedure 12, made
                   applicable to the Avoidance Actions by Bankruptcy Rule 7012, in response to
                   the Avoidance Actions complaints (“Motion to Dismiss”), the Trustee, if
                   necessary, shall file an opposition or other responsive pleading (“Motion to
                   Dismiss Response”) to such Motion to Dismiss within sixty (60) days.

            iv.    If a defendant has already filed a Motion to Dismiss or other Rule 12 motion,
                   then the Trustee shall file a Motion to Dismiss Response within sixty (60) days
                   after the entry of an Order Lifting Stay.

             v.    Following the Motion to Dismiss Response, the defendant, if necessary, shall
                   file a reply (“Reply”) within thirty (30) days.

            vi.    Notwithstanding the foregoing, nothing herein shall prevent parties from
                   agreeing to, or the Court approving, any alternative briefing schedule for any
                   responsive pleadings. Any modification to the briefing schedule must be
                   approved by the Court.

            vii.   No initial pre-trial conference pursuant to Bankruptcy Rule 7016 will be held
                   in the Avoidance Actions.

VI.VII.   Motion Practice

              i.   Prior to filing any motion or application for relief in these proceedings, the
                   movant shall confer in good faith with the non-movant and all affected parties
                   in a good faith effort to resolve or narrow the issues raised by the motion sought
                   to be filed.

             ii.   The non-movant shall promptly respond to any request for a meet and confer.

            iii.   All meet and confer conferences shall occur between counsel and be via
                   telephone, videoconference or detailed email.

            iv.    If a party files a motion without a meet and confer, that party shall certify the
                   efforts made to discuss the proposed motion prior to filing.

             v.    Counsel filing a motion shall include a certification of the meet and confer prior
                   to the signature block in substantially the following format:

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                                          Certification of Counsel

          On ________, undersigned counsel conferred in good faith with ____________ via
   telephone/zoom/email regarding the relief sought in this motion and the parties were unable
   resolve or further narrow the issues.

VII.VIII.   Discovery

                  i.   To the extent discovery is necessary or may be contemplated in the Avoidance
                       Actions, on a date that is twenty-one (21) days after the Response Due Date or
                       twenty-one (21) days after the equivalent deadline in an alternative briefing
                       scheduling, the Trustee and the defendant shall: (a) meet and confer by email
                       or via telephone call as to a joint discovery schedule; and (b) on a date that is
                       fourteen (14) days after the parties meet and confer, the parties shall file a joint
                       proposed discovery schedule in accordance with the Federal Rules of Civil
                       Procedure as made applicable in the Federal Rules of Bankruptcy Procedure.

               i.ii.   The proposed schedule in the preceding paragraph will constitute the parties’
                       report pursuant to Federal Rule of Civil Procedure 26(f), and the Court’s order
                       thereon shall constitute the order required by Federal Rule of Civil Procedure
                       16(b). 1

             ii.iii.   Upon approval by this Court of a joint proposed discovery schedule, the parties
                       shall conduct discovery in accordance with the proposed schedule.

VIII.IX.    Post-Discovery Litigation Proceedings

                  i.   Post-Discovery Motion Practice. To the extent that, at the close of discovery,
                       motion practice in accordance with Federal Rule of Civil Procedure 26 as made
                       applicable in the Federal Rules of Bankruptcy Procedure is necessary, such
                       motions must be filed within thirty (30) days after the close of discovery. Any
                       opposition or other response to such motions shall be filed within thirty (30)
                       days after such motion is filed.

                ii.    Hearings. All matters concerning any Avoidance Action shall be heard on the
                       Omnibus Dates provided in the Case Management Order (as amended);
                       provided, however, that a party may request a hearing on an any other date, and
                       such request may be granted by this Court, for good cause shown. The Trustee,
                       at least seven (7) days prior to each Omnibus Hearing where a matter and/or
                       matters concerning certain Avoidance Actions will be heard, shall jointly file a
                       report setting forth the status of each such Avoidance Actions matters. This
                       report shall be filed on the docket for the Commonwealth’s case (17-03283)



   1       Federal Rules of Civil Procedure 26 and 16 are made applicable to the Avoidance Actions by
   Federal Rules of Bankruptcy Procedure 7026 and 7016 and section 310 of the Puerto Rico Oversight,
   Management, and Economic Stability Act.
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                  and      emailed     to       deindprcorresp@mad.uscourts.gov.                  and
                  swaindprcorresp@nysd.uscourts.gov.

           iii.   Trial.

                      a) Within 60 days of the close of discovery, if trial is required, the Trustee
                         shall file a notice that the action is at issue.

                      b) Any trial concerning the Avoidance Actions shall occur on a date that
                         is agreed upon by joint stipulation by all parties, which joint
                         stipulation,shall be filed, if necessary, no later than ninety (90) days
                         after the close of discovery.

                      c) Witness and exhibit lists shall be filed 45 days prior to trial.

                      d) Exhibits shall be pre-marked and exchanged 30 days prior to trial. The
                         parties shall avoid duplicative exhibits by submitting a set of joint
                         exhibits.

        iv.iii.   Summary Judgment Motions.

                      a) Unless otherwise ordered by the Court, aAny motion for summary
                         judgment shall be filed no later than sixty (60) days after the close of
                         discovery.

                      b) Oppositions to motions for summary judgment shall be filed within
                         forty-five (45) days of any motion for summary judgment.

                      c) Replies shall be filed within twenty-one (21) days of any opposition.

                      d) Absent further order of the Court, each party shall be entitled to submit
                         only one motion for summary judgment to the Court for
                         consideration.Any motion for summary judgment shall encompass all
                         issues that shall be submitted to the Court for consideration and seriatim
                         motions on individual topics shall not be permitted.

           iv.    Trial.

                      a) Any trial concerning the Avoidance Actions shall occur on a date that
                         is acceptable to the Court. The parties shall file a joint stipulation in the
                         particular Avoidance Action proposing agreed-upon dates for trial,
                         which shall be filed, if necessary, no later than ninety (90) days after the
                         close of discovery.

                      b) If necessary and appropriate, after the parties notify the Court that a trial
                         is necessary for a particular Avoidance Action, the Court shall schedule
                         a pre-trial conference with the parties to the Avoidance Action to


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                     establish appropriate procedures and deadlines to address the
                     requirements of the Avoidance Action.




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